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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
                                                   :
              v.                                   :   Case No. 21-CR-91
                                                   :
TAYLOR JOHNATAKIS,                                 :
                                                   :
         Defendant.                                :

     MOTION TO RESCHEDULE TRIAL DUE TO WITNESS UNAVAILABILITY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves this Court to reschedule the trial in this case, currently

scheduled to begin on November 16, 2023, because of government witness unavailability.            The

government understands that the defendant objects to moving the trial date.

       Trial is currently scheduled to begin on Thursday, November 16, 2023, but at least two

essential government witnesses are unavailable beginning November 20, 2023, and government

counsel is unavailable the week of November 27, 2023. Standby counsel for the defendant is

available to begin trial Tuesday, November 14, 2023, as well as the week of December 11, 2023.

The government understands from the last status conference that both the defendant and standby

counsel are unavailable the week December 4, 2023. Accordingly, the government requests that

the Court reschedule trial to begin either (1) Tuesday November 14, 2023 or (2) the week of

December 11, 2023, due to witness unavailability.

       If the start date is moved to the week of December 11, 2023, the government moves this to

exclude time under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(3)(A), which provides

that the period within which a defendant must be tried can be tolled during any period of delay


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resulting from the absence or unavailability of the defendant or an essential witness.

       WHEREFORE, the government respectfully request that this Court grant the motion to

reschedule the trial to either Tuesday, November 14, 2023, or the week of December 11, 2023.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
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